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               Exhibit 17
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 7

 8                               UNITED STATES DISTRICT COURT
 9                              NORTHERN DISTRICT OF CALIFORNIA
10                                     OAKLAND DIVISION
11 WHATSAPP INC., a Delaware corporation,       Case No. 4:19-cv-07123-PJH
   and FACEBOOK, INC., a Delaware
12 corporation,                                 DECLARATION OF SHALEV HULIO IN
                                                SUPPORT OF DEFENDANTS’ MOTION
13                Plaintiffs,                   TO DISMISS UNDER RULES 12(B)(1),
                                                12(B)(2), 12(B)(6), AND 12(B)(7)
14          v.
                                                Date:   May 13, 2020
15 NSO GROUP TECHNOLOGIES LIMITED               Time:   9:00 a.m.
   and Q CYBER TECHNOLOGIES LIMITED,            Ctrm:   3
16
              Defendants.
17                                              Action Filed: 10/29/2019
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                                                                           PLAINTIFF EXHIBIT
                                                                                                 46

                                                                          Georgios Zervas
27                                                                 Klein et al v. Meta Platform Inc
                                                                              2990
28

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 1           I, Shalev Hulio, declare as follows:

 2           1.     I am a citizen and resident of Israel. I am the CEO and a co-founder of Defendant

 3 NSO Group Technologies Limited (“NSO”). Defendant Q Cyber Technologies Limited (“Q

 4 Cyber” and, collectively with NSO, “Defendants”) is NSO’s sole director and majority

 5 shareholder.

 6           2.     I have personal knowledge of the facts set forth herein and, except as otherwise

 7 stated, could testify competently to each fact averred herein.

 8           3.     NSO is a technology company that designs and licenses technology to

 9 governments and government agencies for national security and law enforcement purposes.

10           4.     Defendants are incorporated and have their principal places of business in Israel.

11 As Israeli corporations, Defendants are subject to service of process in Israel. Defendants have

12 no presence in any other country. Defendants do no business in California and have no offices or

13 employees in California or elsewhere in the United States. Defendants have not performed any

14 actions relevant to Plaintiffs’ lawsuit in California, and they have not targeted any activities

15 relevant to the lawsuit at California. All of Defendants’ employees with knowledge relevant to

16 this lawsuit reside in Israel, and any documentary evidence relevant to the case is located in

17 Israel.

18           5.     Sales of NSO’s Pegasus technology are strictly monitored and regulated by the

19 Government of Israel. The export of NSO’s Pegasus technology is regulated under Israel’s

20 Defense Export Control Law (“ECL”), with which I am very familiar as NSO’s CEO. A copy of

21 the ECL is attached as Exhibit A.

22           6.     To export its Pegasus technology, NSO is required to register with the Israeli

23 Ministry of Defense (“MoD”). Under the ECL, the MoD is empowered to investigate NSO and

24 its business, refuse or cancel NSO’s registration, or deny NSO’s license, taking into account

25 several factors, including the intended use of NSO’s Pegasus technology and the identity of

26 NSO’s customers.        The MoD can and does ask NSO to provide documentation about its

27 customers and prospective customers and the intended uses of NSO’s Pegasus technology by

28 NSO’s customers and potential customers. The MoD requires this documentation from NSO for
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 1 each export of NSO’s Pegasus technology.

 2           7.     NSO’s contracts require Pegasus end-user customers to demonstrate that they are

 3 a government or an authorized agency for national security and law enforcement purposes of a

 4 government and to provide any other necessary documentation for approval by the MoD.

 5           8.     The MoD requires the NSO provide it with signed certificates from the end-users

 6 of NSO’s Pegasus technology in which the end-users declare that NSO’s Pegasus technology

 7 will be used only for prevention and investigation of terrorism and criminal activity.

 8           9.     NSO markets and licenses its Pegasus technology exclusively to sovereign

 9 governments and authorized agencies for national security and law enforcement purposes of

10 governments and does so only after receiving the necessary export control licenses from the

11 MoD. NSO does not market or sell its Pegasus technology for use by any private entities, and

12 Plaintiffs’ allegation to the contrary is false.

13           10.    In October 2017, NSO was approached by two Facebook representatives who

14 asked to purchase the right to use certain capabilities of Pegasus, the same NSO software

15 discussed in Plaintiffs’ Complaint. From Facebook’s communications with NSO at that time, I

16 understand that Facebook had purchased a web analytics company called Onavo in October

17 2013. Onavo had created a virtual private network (“VPN”) application called Onavo Protect,

18 which analyzed web traffic sent through the VPN to provide statistics on the usage of other

19 applications. Onavo Protect, which has frequently been categorized as “spyware,” allowed

20 Facebook to gather information about Onavo Protect users, including the applications installed

21 on those users’ mobile devices and the amount of time the users spent on each application. The

22 Facebook representatives stated that Facebook was concerned that its method for gathering user

23 data through Onavo Protect was less effective on Apple devices than on Android devices. The

24 Facebook representatives also stated that Facebook wanted to use purported capabilities of

25 Pegasus to monitor users on Apple devices and were willing to pay for the ability to monitor

26 Onavo Protect users. Facebook proposed to pay NSO a monthly fee for each Onavo Protect user.
27 Facebook is a private entity and not a sovereign government or government agency for national

28 security and law enforcement purposes and therefore does not meet NSO’s customer criteria.
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 1 NSO declined the sale and informed Facebook that NSO only licenses its Pegasus technology to
                  1
 2 governments.

 3          11.       NSO takes into account U.S. and European Union export control restrictions.

 4 NSO conducts due diligence of potential customers, including examining publicly available

 5 information, evaluating questionnaires, and considering the potential customer’s record of

 6 respecting rule-of-law concerns. Government customers must provide due diligence materials

 7 before receiving NSO’s Pegasus technology. (See Compl. Exh. 11, Sec. 2.2.)

 8          12.       NSO requires, as a condition of use, that its government customers agree that they

 9 (1) will use NSO’s Pegasus technology “only for the prevention or investigation of crimes and

10 terrorism and ensure that the [technology] will not be used for human rights violations” and (2)

11 will immediately notify NSO of any potential misuse. (See Compl. Exh. 11, Sec. 2.1.) NSO

12 contractually can suspend or terminate service to customers engaged in any improper use of its

13 Pegasus technology outside these parameters. (See Compl. Exh. 11, Sec. 7.) And, NSO has

14 done so in the past. Moreover, the State of Israel may deny or revoke export licenses if it

15 becomes aware the terms of the export license have been violated, including, for example, that

16 the Pegasus technology is being used to violate human rights.

17          13.       NSO’s Pegasus technology also has technical safeguards, such as general and

18 customer-specific geographic limitations. (See Compl. Exh. A.) One of the limitations relevant to

19 this case is that NSO’s Pegasus technology cannot be used against U.S. mobile phone numbers.

20 (See Compl. Exh. D.) Another such limitation is that the Pegasus technology cannot be used

21 against a device within the geographic bounds of the United States.

22          14.       Contrary to Plaintiffs’ false allegations, Defendants do not operate NSO’s

23 Pegasus technology. Instead, NSO markets and licenses the Pegasus technology to its sovereign

24 customers, which then operate the Pegasus technology themselves, to advance their own

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    Facebook thereafter used Onavo Protect to monitor users on Apple devices until August 2018,
27 when Apple banned the application for violating its rules on data collection. See Nick Statt,
   Facebook Will Pull Its Data-Collecting VPN App from the App Store Over Privacy Concerns,
28 The Verge (Aug. 22, 2018, 6:46 pm), https://bit.ly/2w8LwYU.
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 1 sovereign interests of fighting terrorism and serious crime. Defendants’ role is limited to NSO

 2 providing advice and technical support to assist customers in setting up—not operating—the
                         2
 3 Pegasus technology. When Defendants provide those support services, they do so entirely at the

 4 direction of their government customers, and Defendants follow those directions completely.

 5 Defendants’ operation of the Pegasus technology NSO has licensed to sovereign governments

 6 and agencies for national security and law enforcement purposes is also prohibited under each

 7 export control license NSO has been granted. Each of the licenses NSO has been granted

 8 provides that operational use or ongoing operation of Pegasus by NSO employees (or their

 9 subcontractors) is prohibited, and that operation of Pegasus by NSO employees (or their

10 subcontractors) is permitted only for demonstration purposes and on devices owned by NSO.

11 Each export control license NSO has been granted further requires that NSO’s remote access to

12 Pegasus technology licensed to a customer is permitted solely for purposes of maintenance

13 (which is not related to operation of Pegasus).

14          15.    In the Complaint, Plaintiffs allege that between in and around April 2019 and

15 May 2019, Defendants “sen[t] malware to approximately 1,400 mobile phones and devices

16 (‘Target Devices’)” used by “Target Users,” and that Defendants did so “without the Target

17 Users’ knowledge or consent.” (Complaint ¶¶ 1, 54.) Plaintiffs do not identify any “Target

18 User.” But Defendants have never installed Pegasus on any device without the knowledge and

19 consent of the device owner, and Defendants have never installed Pegasus on any device for any

20 operational purpose. I do not have knowledge regarding the use of WhatsApp messages, by

21 Defendants’ sovereign customers, to install Pegasus on any particular device. If one or more of

22 Defendants’ sovereign customers did that, however, then that sovereign would have been acting

23 on its own behalf to advance its own sovereign interests of fighting terrorism and serious crime,

24 and it would have been without Defendants’ involvement.

25          16.    Defendants have no control over, or knowledge of, where Plaintiffs’ servers are

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27   2
    Defendants do not participate in any NSO customer’s installation of the Pegasus technology on
28 any device.
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 1 located or of which server(s) would be used to send any message.

 2          17.     Plaintiffs allege that Defendants used Pegasus to monitor journalists, human

 3 rights activists, political dissidents, diplomats, and other senior government officials. That is

 4 false. Defendants do not monitor anyone, and Defendants prohibit their customers from using the

 5 technology for purposes other than fighting terrorism and serious crime, by contractual

 6 prohibitions against such behavior and required end-user certificates signed by the customer. If a

 7 government ever misused NSO’s Pegasus technology to monitor WhatsApp users for purposes

 8 other than fighting terrorism and serious crime, Defendants have no knowledge of that misuse,

 9 which would be a violation of that government’s contract with NSO. If Defendants suspected

10 any improper use of Defendants’ Pegasus technology outside these parameters, service to that

11 customer would be suspended pending investigation. If investigation revealed such ongoing

12 misuse, that customer would be terminated.

13          18.     Because NSO’s government customers use Defendants’ technology to investigate

14 and prevent terrorism and crime, discovery into Defendants’ customers’ use of the technology

15 would require sovereign governments to reveal sensitive information about their national-

16 security, intelligence, and law enforcement operations.

17          19.     If any of NSO’s government customers have witnesses or evidence relevant to

18 this lawsuit, those witnesses and that evidence would be located outside of the United States.

19          I declare under the penalty of perjury and the laws of the United States that the foregoing

20 is true and correct this 2nd day of April 2020, at Tel Aviv, Israel.

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                                             SHALEV HULIO
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